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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                    Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.


                                   JOINT STATUS REPORT


       COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and the defendant through his counsel, and file this joint report to

provide the Court with the status of this matter.

       1.       The parties previously filed a Joint Status Report on September 2, 2019. To date,

defendant Gates continues to cooperate with the government as required by his Plea Agreement.

He testified in United States v. Craig, 19-CR-125 (ABJ), on August 22, 2019, and is expected to

testify in United States v. Stone, 19-CR-18 (ABJ), during the week of November 11, 2019. The

defendant’s final Presentence Investigation Report will be filed by November 15, 2019.

       2.       Accordingly, the parties respectfully request that the Court schedule the

defendant’s sentencing for a time and date convenient to the Court in mid-December 2019.


                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              UNITED STATES ATTORNEY

                                              /s/ Molly Gaston
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                            /s/ Thomas C. Green
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                   Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                   Defendant.


                                           ORDER

       Upon consideration of the representations made in the November 11, 2019 Joint Status

Report and for good cause shown, it is this ____ ____ day of       ____________, 2019,

       ORDERED that the defendant’s sentencing is scheduled for December           , 2019,

at            .

       IT IS SO ORDERED.


                                                   HON. AMY BERMAN JACKSON
                                                   UNITED STATES DISTRICT JUDGE
